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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


JES’TERIEUZ J. HOWARD,

                      Plaintiff,

              v.                                       CIVIL ACTION FILE NO.:

THE GEORGE WASHINGTON UNIVERSITY a                     ______________________
corporation; THE INSTITUTE FOR
BIOMEDICAL SCIENCES an individual; DR.
ALISON HALL; and DR. CATHERINE
LIMPEROPOULOS,

                      Defendants.


                                    NOTICE OF REMOVAL

       Defendants The George Washington University (the “University”), the Institute for

Biomedical Sciences, 1 Dr. Alison Hall, and Dr. Catherine Limperopoulos (collectively, the

“University Defendants”), through counsel, hereby file this Notice of Removal pursuant to 28

U.S.C. §§ 1331, 1332, 1441, and 1446. The grounds for removal are as follows:

       1.     Plaintiff Jes’Terieuz J. Howard commenced this action against the University

Defendants by filing a Complaint in the Superior Court of the District of Columbia on August 26,

2022. Plaintiff then filed an Amended Complaint on August 29, 2022. A copy of the Amended

Complaint is attached hereto as Ex. A.

       2.     The state court action is captioned Jes’Terieuz Howard v. The George Washington

University, et al., Case Number 2022 CA 003819 B (the “Action”).




1
 The Institute for Biomedical Sciences is an academic program within the University and is thus
not a separate entity capable of being sued.
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       3.      The Amended Complaint asserts discrimination claims under Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq. (“Title VII”); Title VI of the Civil Rights Act of

1964, 42 U.S.C. §§ 2000d, et seq. (“Title VI”); Section 504 of the Rehabilitation Act of 1973, 29

U.S.C. § 794 (“Section 504”); and Title IX of the Education Amendments of 1972, 20 U.S.C.

§ 1681 (“Title IX”) against the University Defendants.

       4.      The date on or before which the University Defendants are required by the Laws of

the District of Columbia to answer or otherwise respond to the Amended Complaint has not lapsed.

Likewise, the thirty-day period within which the University Defendants may remove the Action to

this Court has not lapsed. This Notice of Removal is accordingly timely under 28 U.S.C.

§ 1446(b).

       5.      Under 28 U.S.C. § 1441, “any civil action brought in a State court of which the

district courts of the United States have original jurisdiction, may be removed by the defendant or

defendants, to the district court of the United States for the district and division embracing the

place where such action is pending.” 28 U.S.C. § 1441(a).

       6.      Pursuant to 28 U.S.C. § 1331, which provides for federal question jurisdiction, the

“district courts shall have original jurisdiction of all civil actions arising under the Constitution,

laws, or treaties of the United States.”

       7.      Because this Action arises under federal statutes, including Title VII, Title VI,

Section 504, and Title IX, this Court has original jurisdiction over this Action and this Action is

properly removed to this Court pursuant to 28 U.S.C. §§ 1331 and 1441(c). To the extent that

Plaintiff’s Amended Complaint may be read as asserting state law claims against the University

Defendants, this Court has supplemental jurisdiction over such claims under 28 U.S.C. § 1367.




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       8.      In addition to having jurisdiction pursuant to 28 U.S.C. § 1331, this Court has

independent jurisdiction pursuant to 28 U.S.C. § 1332, under which the “district courts shall have

original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs, and is between . . . citizens of different States.” 28

U.S.C. § 1332(a)(1).

       9.      Plaintiff Jes’Terieuz Howard is a citizen of the State of Georgia.

       10.     Individual Defendants Dr. Alison Hall and Dr. Catherine Limperopoulos are

citizens of the State of Maryland. The George Washington University is a Washington D.C.

corporation with its principal place of business in Washington D.C. and a citizen of Washington

D.C. As a result, there is complete diversity of citizenship between Plaintiff and all defendants.

       11.     Plaintiff has not specifically alleged an amount in controversy, but has alleged

monetary harm in excess of $30,000 and emotional damages arising from his participation in the

University’s programs, which may fairly be read to amount to a value in excess of the jurisdictional

limit. A defendant may assert that the amount in controversy exceeds the $75,000 threshold

required for federal diversity jurisdiction in its removal notice where the monetary value of the

relief sought in the complaint is indeterminate on its face. Inst. for Truth in Mktg. v. Total Health

Network Corp., 321 F. Supp. 3d 76, 83 (D.D.C. 2018). “[A] defendant's notice of removal need

include only a plausible allegation that the amount in controversy exceeds the jurisdictional

threshold.” Pesticides v. Dr Pepper Snapple Grp., Inc., 322 F. Supp. 3d 119, 121 (D.D.C. 2018)

(quoting Dart Cherokee Basin Operating Co., LLC v. Owens, 547 U.S. 81, 89 (2014)).

       12.     A true and correct copy of this Notice is being filed promptly with the Clerk of the

Superior Court of the District of Columbia, pursuant to 28 U.S.C. § 1446(d).




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       13.     Written notice of the filing of this Notice will be served promptly on all adverse

parties, pursuant to 28 U.S.C. § 1446(d), as reflected in the attached certificate of service.

       14.     By removing this action from the Superior Court of the District of Columbia, the

University Defendants do not waive any defenses available to them or admit any of the allegations

in the Complaint.

       WHEREFORE, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446, the University

Defendants respectfully remove this civil action from the Superior Court of the District of

Columbia to the United States District Court for the District of Columbia.

       Respectfully submitted this 26th day of September 2022.

                                               SAUL EWING ARNSTEIN & LEHR LLP

                                               s/ Joshua W. B. Richards
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                                               Attorney for University Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date I have electronically filed the foregoing NOTICE OF

REMOVAL with the Clerk of Court using the CM/ECF system and served the same upon Plaintiff

via United States First Class Mail properly addressed as follows:

                                     Jes’Terieuz J. Howard
                                   235 Augusta Woods Drive
                                   Villa Rica, Georgia 30180


 Dated: September 26, 2022                     s/ Joshua W. B. Richards
                                               Joshua W. B. Richards
                                               D.C. Bar ID No. 1002821
